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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION


    ALEKSEJ GUBAREV,
    XBT HOLDING S.A., and
    WEBZILLA, INC.                                                          Case No.
      Plaintiffs,
                                                                       0:17-cv-60426-UU
    v.

    BUZZFEED, INC. and
    BEN SMITH
      Defendants.


                        PLAINTIFFS’ MOTION IN LIMINE #1
           TO PRECLUDE THE INTRODUCTION OF TESTIMONY OR EVIDENCE
                            CONCERNING METHBOT

                                                Introduction
           Given Defendants’ repeated attempts to make this case about anything other than what it
   is actually about, it is important to start with a basic reminder of what lies at the heart of this
   case. On January 10, 2017, Defendants published a collection of seventeen privately-produced
   memos that had been created as part of a paid opposition-research assignment for a political
   candidate. The memos were created over the span of many months and only the last of those
   memos is at issue in this case. That memo, referred to herein as the “December Memo,” stated,
   in relevant part, that:
           [Redacted] reported that over the period March-September 2016 a company called
           XBT/Webzilla and its affiliates had been using botnets and porn traffic to transmit
           viruses, plant bugs, steal data and conduct “altering operations” against the
           Democratic Party leadership. Entities linked to one Aleksei GUBAROV [sic] were
           involved and he and another hacking expert, both recruited under duress by the
           FSB, Seva KAPSUGOVICH, were significant players in this operation. In Prague,
           COHEN agreed contingency plans for various scenarios to protect the operations,
           but in particular what was to be done in the event that Hillary CLINTON won the
           presidency. It was important in this event that all cash payments owed were made
           quickly and discreetly and that cyber and that cyber and other operators were stood
           down/able to go effectively to ground to cover their traces.




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          In other words, Buzzfeed’s publication accused Plaintiffs of: (1) using botnets and porn
   traffic to transmit viruses, plant bugs, steal data, and conduct “altering operations” against the
   Democratic Party Leadership, (2) being agents of the FSB, (3) being part of an elaborate
   conspiracy that would need to go into hiding if Hillary Clinton had won the Presidency, and (4)
   (implicitly) attempting to undermine the 2016 United States Presidential election. These are the
   statements that Plaintiffs allege to be defamatory.
                                                Argument
          Federal Rule of Evidence 401 provides, in relevant part, that evidence is only “relevant if:
   (a) it has any tendency to make a fact more or less probable than it would be without the
   evidence; and (b) the fact is of consequence in determining the action.” Federal Rule of
   Evidence 403 provides that the “court may exclude relevant evidence if its probative value is
   substantially outweighed by a danger of one or more of the following: unfair prejudice,
   confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting
   cumulative evidence.” Bowe v. Pub. Storage, 2015 U.S. Dist. LEXIS 178180, at *12 (S.D. Fla.
   June 2, 2015). Additionally, “because of the powerful and potentially misleading effect of expert
   evidence, sometimes expert opinions that otherwise meet the admissibility requirements may still
   be excluded by applying Rule 403.” Edwards v. Shanley, 580 F. App'x 816, 823 (11th Cir. 2014)
   (citation omitted).
          Pursuant to Federal Rule of Evidence 801(c), “‘Hearsay’ means a statement that: (1) the
   declarant does not make while testifying at the current trial or hearing; and (2) a party offers in
   evidence to prove the truth of the matter asserted in the statement.” Although experts may
   sometimes rely on hearsay in forming their expert opinions, an expert cannot, simply by virtue of
   being an expert, include in his report or testimony hearsay that fall outside the expert’s area of
   expertise. Bowe v. Pub. Storage, 2015 U.S. Dist. LEXIS 178180, at *27-28 (S.D. Fla. June 2,
   2015) (“Dr. Hausman's opinions regarding the economic factors surrounding the self-storage
   market and the economic reasonableness of the access fee are irrelevant to this inquiry. Dr.
   Hausman’s relevant opinions, that a reasonable consumer would not find the access fee
   important, are not based on his expertise and instead constitute a presentation of other evidence
   in the guise of an expert opinion.” (citing Marvel Characters, Inc. v. Kirby, 726 F.3d 119, 136
   (2d Cir. 2013) (“[A] party cannot call an expert simply as a conduit for introducing hearsay
   under the guise that the testifying expert used the hearsay as the basis of his testimony.”))).

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          Throughout this litigation, Defendants have attempted to introduce evidence and
   argument concerning the so-called “Methbot Operation” and have signaled their intent to do so at
   trial. The term “Methbot Operation” merits some initial explanation. In December of 2016, a
   private company, “White Ops,” that sells cybersecurity software to companies issued a White
   Paper entitled “The Methbot Operation,” that first coined the phrase. See Exhibit 1 hereto. In
   the simplest of terms, according to White Ops’ report, the Methbot Operation was a digital
   advertising scam that created fake websites (that looked like real websites) and then used
   automated programs (“bots”) to view advertising videos on the fake websites. Because
   advertisers generally pay based on how many people view their advertisements and the “bots”
   pretended to be “people,” advertisers were supposedly tricked into paying for advertisements that
   were “viewed” almost entirely by “bots” and not actual people. According to the White Ops
   report, advertisers were tricked into paying up to $3 million a day for advertisements that weren’t
   actually being viewed by humans.
          It bears noting, of course, that White Ops – which sells companies software to protect
   them from cyber fraud – has a direct financial incentive in convincing companies that the scope
   of threats is massive. And, indeed, subsequent reporting theorized that White Ops used faulty
   algorithms to grossly exaggerate the scope of the Methbot operation. See, e.g., “Was Methbot’s
   Financial Impact Grossly Exaggerated?” AdAge (February 23, 2017), attached hereto as Exhibit
   2 (“But Methbot’s financial impact may have been grossly exaggerated. ‘It was not millions of
   dollars a day,’ said Mike Zaneis, president and CEO of the digital ad industry’s Trustworthy
   Accountability Group. ‘Not a chance.’ Google, which works with nearly every publisher and
   advertiser on the planet, said it saw negligible impact from Methbot. ‘This was kind of just
   another threat, so it wasn’t something you were necessarily surprised by,’ said Andres Ferrate,
   chief advocate of ad traffic quality at the company. ‘In terms of the impact, it was so small that it
   raised some eyebrows internally after we went through our standard operating procedure,’ he
   added.”).
          In any event, the Methbot White Paper never once mentions or references any of the
   Plaintiffs. The report did, however, identify certain IP addresses associated with the Methbot
   Operation, some of which corresponded to servers that were being operated by one of Webzilla’s
   clients, utilizing servers leased from Webzilla. The connection between the leased servers and
   Methbot was not publicized at the time the White Ops paper was released.

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          Because Webzilla cannot see the data that is stored or transmitted by its clients, it had no
   way of knowing for what purpose the client was utilizing the leased servers. In other words,
   legitimate advertising “looks” the same as fake advertising. After reviewing the Methbot White
   Paper, Webzilla became concerned that its client might be utilizing its servers to perpetuate a
   fraud in violation of Webzilla’s terms of service. Webzilla contacted the client to ask for an
   explanation and, when none was forthcoming, it shut down the client’s access to the servers and
   pulled the relevant hard drives from inside those servers so that they could be preserved for any
   law enforcement agency that might want them in connection with an investigation of the
   Methbot Operation. No law enforcement agency ever requested the hard drives, which Webzilla
   continues to hold.
          There is absolutely no connection between one of Webzilla’s customers having
   (allegedly) been involved in an advertising fraud operation and the defamatory statements
   published by Defendants. Indeed, even Defendants’ proffered cybersecurity expert has conceded
   that he has no reason to believe that the Methbot Operation had any connection the attempts to
   hack the 2016 U.S. elections (other than the fact that both operations used “bots,” which is much
   like saying that two disparate activities might be connected because they both used email).
   Transcript of Deposition of Anthony J. Ferrante, 115:7-15 (“Q. Do you have any reason to
   believe that the methbot operation was connected to – and when I say ‘connected to’, I mean,
   was part of the attempt to influence the 2016 elections. A. Other than the fact that the methbot
   was a large botnet, and I know botnets were used in malicious cyber activity targeting the 2016
   Presidential Election, I have no additional evidence.”).
          Indeed, although “bot” is simply a generic term for any automated programs that
   performs some function, legitimate or otherwise, the public generally perceives the term to refer
   to something “malicious.”1 See, e.g., “Most Americans have heard about social media bots;



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     Indeed, Buzzfeed itself began as an “instant messaging bot.” See, e.g., “How BuzzFeed CEO
   Jonah Peretti took an instant messaging bot and turned it into a $1.5 billion media empire,”
   Business Insider (June 1, 2017), attached hereto as Exhibit 3. Similarly, Buzzfeed utilized bots
   to collect information related to the 2016 United States Presidential elections. See, e.g., “Bot or
   Not? News organizations try to engage users with chatbots,” NYU Journalism (March 2, 2017),
   attached hereto as Exhibit 4 (“In the news space, chatbots have been used to both gather and
   disseminate information. BuzzFeed, for instance, used Buzzbot to survey people’s reactions to
   the 2016 Democratic and Republican National Conventions.”).
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   many think they are malicious and hard to identify,” Pew Research Center (October 15, 2018),
   attached hereto as Exhibit 5.
          References to the Methbot Operation would serve no legitimate purpose in this trial. Not
   only does the December Memo not speak to any type of advertising fraud, it certainly does not
   speak to such fraud being committed – if at all – by Webzilla’s customers. As such, Defendants
   should be precluded under Rule 401 from eliciting testimony or offering exhibits concerning the
   Methbot Operation because such evidence or testimony would be irrelevant to the issues
   presented here.
          Additionally, evidence or testimony concerning the Methbot Operation should be
   precluded under Rule 403 because its admission would be unduly prejudicial. Defendants
   simply want to be able to say the words “bot” and “fraud” knowing that such references will tend
   to prejudice Plaintiffs without adding any probative value. Indeed, in his discussion of the
   Methbot Operation, Plaintiffs’ expert, Anthony Ferrante, was unable to make any actual
   connection between the Methbot Operation and the allegations contained in the December
   Memo. Instead, Mr. Ferrante makes an enormous leap in his expert report to opine that “it is a
   highly unusual and risky business practice for hosting companies to provide services without
   signed contracts, especially instances when the customer is requesting a large number of servers
   and the company is at risk of losing a large amount of revenue.” As detailed in Plaintiffs’
   Daubert motion seeking to exclude Mr. Ferrante’s testimony, Mr. Ferrante does not appear to
   have any expertise concerning the running of a hosting company or what contracts hosting
   companies should enter into, nor does he cite any source for his opinion or explain how his
   expertise might make this opinion useful to a jury. Such testimony should be precluded both
   because it is outside of Mr. Ferrante’s expertise and also because such testimony would be an
   attempt by Defendants to “call an expert simply as a conduit for introducing hearsay under the
   guise that the testifying expert used the hearsay as the basis of his testimony.”
                                               Conclusion
          For the reasons stated hereinabove, Defendants should be precluded from eliciting or
   offering testimony or evidence concerning the so-called “Methbot Operation.”




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   Dated: October 29, 2018

   Respectfully Submitted:

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